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                EXHIBIT I
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                                                                                                               USOO874633 OB2


(12) United States Patent                                                                    (10) Patent No.:                 US 8,746,330 B2
       Lyon                                                                                  (45) Date of Patent:                       Jun. 10, 2014
(54) FLUID HEAT EXCHANGER CONFIGURED                                                           5,265,670 A * 1 1/1993 Zingher ....................... 165,804
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(75)    Inventor:      Geoff Sean Lyon, Calgary (CA)                                           5,727,618 A * 3/1998 Mundinger et al. ......... 165,804
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(73) Assignee: Coolit Systems Inc., Calgary (CA)                                               6,019,165 A        2/2000 Batchelder
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(*) Notice: Subject to any disclaimer, the term of this                                                             (Continued)
               patent is extended or adjusted under 35
               U.S.C. 154(b) by 1345 days.                                                            FOREIGN PATENT DOCUMENTS

(21) Appl. No.: 12/189,476                                                              JP               61032449            2, 1986
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(22) Filed:            Aug. 11, 2008                                                                                (Continued)
(65)                     Prior Publication Data                                                            OTHER PUBLICATIONS
        US 2009/OO71625A1                     Mar. 19, 2009                             Technical Opinion dated Jan. 10, 2013, for Japanese Registration No.
                                                                                        3179086 (Utility Model Application No. 2012-002117); English
            Related U.S. Application Data                                               translation included; 7 pages.
(60) Provisional application No. 60/954,987, filed on Aug.                              Primary Examiner — Brandon M Rosati
        9, 2007.                                                                        (74) Attorney, Agent, or Firm — Ganz Law, PC
(51)    Int. C.
                                                                                        (57)                       ABSTRACT
        F28F 3/4                          (2006.01)
        F28F 3/12                         (2006.01)                                     A fluid heat exchanger can define a plurality of microchan
        F28F 7700                         (2006.01)                                     nels, each having a first end and an opposite end and extend
        H05K 7/20                         (2006.01)                                     ing Substantially parallel with each other microchannel. Each
(52)    U.S. C.                                                                         microchannel can define a continuous channel flow path
        USPC ........... 165/170; 165/168; 165/80.4; 361/699                            between its respective first end and opposite end. A fluid inlet
(58)    Field of Classification Search                                                  opening for the plurality of microchannels can be positioned
        USPC .......................... 165/168, 170, 80.4; 361/699                     between the microchannel first and opposite ends, a first fluid
        See application file for complete search history.                               outlet opening from the plurality of microchannels can be
                                                                                        positioned adjacent each of the microchannel first ends, and
(56)                     References Cited                                               an opposite fluid outlet opening from the plurality of micro
                                                                                        channels can be positioned adjacent each of the microchannel
                   U.S. PATENT DOCUMENTS                                                opposite ends such that a flow of heat transfer fluid passing
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                                                                                        into the plurality of microchannels flows along the full length
       4,750,086   A      6, 1988         Mittal                                        of each of the plurality of microchannels outwardly from the
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                               1.                                                                     2
      FLUID HEAT EXCHANGER CONFIGURED                                      It is to be understood that other aspects of the present
           TO PROVIDEA SPLT FLOW                                        invention will become readily apparent to those skilled in the
                                                                        art from the following detailed description, wherein various
                            FIELD                                       embodiments of the invention are shown and described by
                                                                        way of illustration. As will be realized, the invention is
   The present invention is directed to a fluid heat exchanger          capable for other and different embodiments and its several
and, in particular, a fluid heat exchanger for an electronics           details are capable of modification in various other respects,
application Such as in a computer system.                               all without departing from the spirit and scope of the present
                                                                        invention.
                      BACKGROUND                                   10     Accordingly the drawings and detailed description are to
                                                                        be regarded as illustrative in nature and not as restrictive.
   Fluid heat exchangers are used to cool electronic devices
by accepting and dissipating thermal energy therefrom.                         BRIEF DESCRIPTION OF THE DRAWINGS
   Fluid heat exchangers seek to dissipate to a fluid passing
therethrough, thermal energy communicated to them from a           15      Referring to the drawings wherein like reference numerals
heat Source.                                                            indicate similar parts throughout the several views, several
                                                                        aspects of the present invention are illustrated by way of
                         SUMMARY                                        example, and not by way of limitation, in detail in the figures,
                                                                        wherein:
   In accordance with a broad aspect of the invention, there is            FIG. 1 is a top plan view of a fluid heat exchanger according
provided a fluid heat exchanger comprising: a heat spreader             to one embodiment of the invention, with the top cap cutaway
plate including an intended heat generating component con               to facilitate viewing internal components;
tact region; a plurality of microchannels for directing heat               FIG. 2 is a sectional view along line II-II of FIG. 1;
transfer fluid over the heat spreader plate, the plurality of              FIG. 3 is a sectional view along line III-III of FIG. 1;
microchannels each having a first end and an opposite end and      25      FIG. 4 is an exploded, perspective view of a fluid heat
each of the plurality of microchannels extending Substantially          exchanger according to another embodiment of the invention;
parallel with each other microchannel and each of the plural            and
ity of microchannels having a continuous channel flow path                 FIG. 5 is a top plan view of the fluid heat exchanger of FIG.
between their first end and their opposite end; a fluid inlet           4 assembled with its top cap removed.
opening for the plurality of microchannels and positioned          30
between the microchannel first and opposite ends, a first fluid               DESCRIPTION OF VARIOUSEMBODIMENTS
outlet opening from the plurality of microchannels at each of
the microchannel first ends; and an opposite fluid outlet open             The detailed description set forth below in connection with
ing from the plurality of microchannels at each of the micro            the appended drawings is intended as a description of various
channel opposite ends, the fluid inlet opening and the first and   35   embodiments of the present invention and is not intended to
opposite fluid outlet openings providing that any flow of heat          represent the only embodiments contemplated by the inven
transfer fluid that passes into the plurality of microchannels,         tor. The detailed description includes specific details for the
flows along the full length of each of the plurality of micro           purpose of providing a comprehensive understanding of the
channels in two directions outwardly from the fluid inlet               present invention. However, it will be apparent to those
opening.                                                           40   skilled in the art that the present invention may be practiced
   In accordance with another broad aspect of the present               without these specific details.
invention, there is provided a method for cooling a heat gen               With reference to FIGS. 1 to 3, a fluid heat exchanger 100
erating component comprising: providing a fluid heat                    is shown. Fluid heat exchanger 100 includes a heat spreader
exchanger including a heat spreader plate; a plurality of               plate 102, an arrangement of fluid microchannels 103 defined
microchannels for directing heat transfer fluid over the heat      45   between walls 110, a fluid inlet passage 104, and a fluid outlet
spreader plate, the plurality of microchannels each having a            passage 106. A housing 109 operates with heat spreader plate
first end and an opposite end and each of the plurality of              102 to form an outer limit of the heat sink and to define fluid
microchannels having a continuous channel flow path                     flow passages 104,106.
between their first ends and their opposite ends; a fluid inlet            As shown in FIGS. 2 and 3, in use the heat exchanger 100
opening for the plurality of microchannels and positioned          50   is coupled to a heat source 107, such as an electronic device,
between the microchannel first and opposite ends, a first fluid         including, but not limited to a microchip or an integrated
outlet opening from the plurality of microchannels at each of           circuit. The heat exchanger may be thermally coupled to the
the microchannel first ends; and an opposite fluid outlet open          heat source by a thermal interface material disposed therebe
ing from the plurality of microchannels at each of the micro            tween, by coupling directly to the Surface of the heat source,
channel opposite ends; mounting the heat spreader plate onto       55   or by integrally forming the heat source and at least the heat
the heat generating component creating a heat generating                spreader plate 102 of the fluid heat exchanger. The heat
component contact region where the heat generating compo                exchanger 100 may take various forms and shapes, but heat
nent contacts the heat spreader plate; introducing a flow of            spreader plate 102 is formed to accept thermal energy from
heat exchanging fluid to the fluid heat exchanger, urging the           heat source 107. Heat spreader plate 102 includes an intended
flow of heat exchanging fluid through the fluid inlet into the     60   heat generating component contact region 102b positioned in
plurality of microchannels first to a microchannel region               a known location thereon. In the illustrated embodiment, heat
between the ends of the microchannel; and, diverting the flow           spreader plate 102 includes a protrusion at region 102b that
of heat exchanging fluid into a plurality of subflows that each         controls the positioning of the heat spreader plate relative to
flow away from the other, a first of the plurality of subflows          the heat source, but such a protrusion need not be included.
flowing from the fluid inlet toward the first fluid outlet and a   65   Heat spreader plate 102 may include a portion of more con
second of the plurality of subflows flowing from the fluid inlet        ductive material to facilitate and control heat transfer, if
toward the opposite fluid outlet.                                       desired. In any event, heat spreader plate is formed to fit over
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and thermally communicate with a heat source in a region                  port 111 through the housing opening to a header 112 and
102b, usually located centrally relative to the edges of the heat         thereafter a fluid inlet opening 114 to the microporous fluid
spreader plate.                                                           channels 103.
   Microchannels 103 are formed to accept and allow passage                  The port and the header can be formed in various ways and
therethrough of the flow of heat exchanging fluid such that the           configurations. For example, port 111 may be positioned on
fluid can move along heat spreader plate 102 and walls 110                top, as shown, side or end regions of the heat exchanger, as
and accept and dissipate heat energy from them. In the illus              desired. Port 111 and header 112 are generally of a larger
trated embodiment, microchannels 103 are defined by walls                 cross sectional area than opening 114, so that a mass flow of
110 that are thermally coupled to the heat spreader plate to              fluid can be communicated substantially without restriction
accept thermal energy therefrom. For example, heat spreader          10   to opening 114.
plate 102 may include an inner facing, upper Surface 102a and                Although only a single fluid inlet opening 114 is shown,
a plurality of microchannel walls 110 may extend upwardly                 there may be one or more fluid inlet openings providing
                                                                          communication from the header to the fluid microchannels
therefrom, whereby the channel area, defined between upper                103.
surface 102a and the microchannel walls 110, channels or             15      Fluid inlet opening 114 may open to microchannels 103
directs fluid to create a fluid flow path. The channel area may           opposite the heat spreader plate Such that fluid passing
be open or filled with thermally conductive porous material               through the opening may pass between walls 110 toward
Such as metal or silicon foam, sintered metal, etc. Thermally             surface 102a, before being diverted along the axial length of
conductive, porous materials allow flow through the channels              the channels, which extend parallel to axis X. Since most
but create a tortuous flow path.                                          installations will position the heat spreader plate as the low
  Surface 102a and microchannel walls 110 allow the fluid to              ermost, as determined by gravity, component of heat
undergo exchange of thermal energy from the heat spreader                 exchanger 100, the fluid inlet openings 114 can generally be
plate to cool the heat source coupled to the heat spreaderplate.          described as being positioned above the microchannels 103
The upper surface 102a and walls 110 have a high thermal                  such that fluid may flow through opening 114 down into the
conductivity to allow heat transfer from the heat source 107 to      25   channels in a direction orthogonal relative to the plane of
fluid passing through channels 103. The Surfaces forming                  surface 102a and towards surface 102a and then change
channels 103 may be smooth and solid, formed with a porous                direction to pass along the lengths of channels 103 Substan
structure, such as of sintered metal and/or metal or silicon              tially parallel to surface 102a and axis X. Such direction
foam or roughened, for example, including troughs and/or                  change is driven by impingement of fluid against Surface
                                                                     30   102a.
crests designed to collect or repel fluid from a particular                  Fluid inlet opening 114 may be positioned adjacent to the
location or to create selected fluid flow properties. Facing              known intended heat generating component contact region
microchannel walls 110 may be configured in a parallel con                102b since this region of the heat spreader plate may be
figuration, as shown, or may be formed otherwise, provided                exposed to greater inputs of thermal energy than other regions
fluid can flow between the microchannel walls 110 along a            35   on plate 102. Positioning the fluid inlet opening adjacent
fluid path. It will be apparent to one skilled in the art that the        region 102b seeks to introduce fresh heat exchanging fluid
microchannel walls 110 may be alternatively configured in                 first and directly to the hottest region of the heat exchanger.
any other appropriate configuration depending on various                  The position, arrangement and/or dimensions of opening 114
factors of desired flow, thermal exchange, etc. For instance,             may be determined with consideration of the position of
grooves may be formed between sections of microchannel               40   region 102b Such that opening 114 may be placed adjacent,
walls 110. Generally, microchannel walls 110 may desirably                for example orthogonally opposite to, or according to the
have dimensions and properties which seek to reduce or pos                usual mounting configuration above, the intended heat gen
sibly minimize the pressure drop or differential of fluid flow            erating component contact region 102b on the heat plate. The
ing through the channels 103 defined therebetween.                        delivery of fresh fluid first to the region that is in direct
   The microchannel walls 110 may have a width dimension             45   communication with the heat generating component to be
within the range of 20 microns to 1 millimeter and a height               cooled seeks to create a uniform temperature at the contact
dimension within the range of 100 microns to five millime                 region as well as areas in the heat spreader plate away from
ters, depending on the power of the heat source 107, desired              the contact region.
cooling effect, etc. The microchannel walls 110 may have a                   In the illustrated embodiment, opening 114 is positioned to
length dimension which ranges between 100 microns and                50   have its geometric center aligned over the center, for example
several centimeters, depending on the dimensions of, and the              the geometric center, of region 102b. It is noted that it may
heat flux density from, the heat source. In one embodiment,               facilitate construction and installation by intending, and pos
the walls 110 extend the full length (which may be a width)               sibly forming, the heat sink spreader plate to be installed with
dimension of the heat spreader plate passing fully through                the heat generating component positioned on the plate Sub
region 102b. These are exemplary dimensions and, of course,          55   stantially centrally, with respect to the plate's perimeter
other microchannel wall dimensions are possible. The micro                edges, and then opening 114 may be positioned also with its
channel walls 110 may be spaced apart by a separation dimen               geometric center Substantially centrally with respect to the
sion range of 20 microns to 1 millimeter, depending on the                perimeter edges of the heat spreader plate. In this way, the
power of the heat source 107, although other separation                   geometric center points of each of opening 114, the heat
dimensions are contemplated.                                         60   spreader plate and the heat generating component may all be
   Other microporous channel configurations may be used                   Substantially aligned, as at C.
alternatively to, or together with, microchannels. Such as for               Opening 114 may extend over any channel 103 through
example, a series of pillars, fins, or undulations, etc. which            which it is desired that heat exchange fluid flows. Openings
extend upwards from the heat spreader plate upper Surface or              114 may take various forms including, for example, various
tortuous channels as formed by a foam or sintered Surface.           65   shapes, various widths, straight or curved edges (in plane or in
   Fluid heat exchanger 100 further includes a fluid inlet                section) to provide fluid flow features, open area, etc., as
passage 104, which in the illustrated embodiment includes a               desired.
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  Heat exchanger 100 further includes a fluid outlet passage            region of the microchannels after which the flow splits into
106, which in the illustrated embodiment includes one or                two sub flows to pass outwardly from the inlet towards a pair
more fluid outlet openings 124 from the microporous fluid               of outlets, each of which is positioned at the ends of the
channels 103, a header 126 and an outlet port 128 opening               channels reduces the pressure drop of fluid passing along the
from the housing. Although two fluid outlet openings 124 are            channels over that pressure drop that would be created if the
shown, there may be one or more fluid outlet openings pro               fluid passed along the entire length of each channel. Splitting
viding communication to the header from the fluid channels              the fluid flow to allow only approximately one half of the
103.                                                                    mass inlet flow to pass along any particular region of the
   The port and the header can be formed in various ways and            microchannels creates less back pressure and less flow resis
configurations. For example, port 128 may be positioned on         10   tance, allows faster fluid flow through the channels and less
top, as shown, side or end regions of the heat exchanger, as            ens the pump force required to move the fluid through the heat
desired.                                                                exchanger.
   Fluid outlet openings 124 may be positioned at the end of               In use, heat spreader plate 102 is positioned in thermal
microchannels 103. Alternately or in addition, as shown, fluid          communication with heat source 107 at region 102b. Heat
outlet openings 124 may create an opening opposite heat            15   generated by heat source 107 is conducted up through heat
spreader plate 102 Such that fluid passing through the chan             spreader plate 102 to surface 102a and walls 110. Heat
nels pass axially along the length of the channels between              exchanging fluid, as shown by arrows F, enters the fluid heat
walls 110 and then changes direction to pass away from                  exchanger through port 111, passes into the header 112 and
surface 102a out from between the walls 110 to exit through             through opening 114. The heat exchanging fluid then passes
openings 124. Since most installations will position the heat           down between walls 110 into channels 103, where the fluid
spreader plate as the lowermost, as determined by gravity,              accepts thermal energy from the walls 110 and surface 102a.
component of heat exchanger 100, the fluid outlet openings              The heat exchanging fluid, after passing down into the chan
124 will generally be positioned above the microchannels 103            nels, then impinges against Surface 102a to be diverted toward
such that fluid may flow from the channels upwardly through             ends 103a of the channels toward outlet openings 124. In so
openings 124.                                                      25   doing, in the illustrated embodiment, the fluid is generally
   Fluid outlet openings 124 may be spaced from fluid inlet             split into two Subflows moving away from each other and
openings 114 so that fluid is forced to pass through at least a         away from inlet 114 toward openings 124 at the ends of the
portion of the length of channels 103 where heat exchange               microchannels. Fluid passing through channels becomes
occurs before exiting the microchannels. Generally, fluid out           heated, especially when passing over the region in direct
let openings 124 may be spaced from the known intended heat        30   contact with the heat source. Such as, in the illustrated
generating component contact region 102b.                               embodiment, the central region of the heat spreader plate.
   In the illustrated embodiment, where heat exchanger 100 is           Heated fluid passes out of openings 124, into header and
intended to be mounted with heat source 107 generally cen               thereafter through port 128. The heated fluid will circulate
trally positioned relative to the perimeter edges of heat               through a heat sink where its thermal energy is unloaded
spreader plate 102, and thereby the ends 103a of channels,         35   before circulating back to port 111.
openings 124 may be positioned at or adjacent channel ends                 The individual and relative positioning and sizing of open
103.                                                                    ings 114 and 124 may allow fluid to circulate through the heat
  At least one opening 124 extends over any channel 103                 exchanging channels 103 while reducing the pressure drop
through which it is desired that heat exchange fluid flows.             generated in fluid passing through heat exchanger 100, when
Openings 124 may take various forms including, for example,        40   compared to other positionings and sizings. In the illustrated
various shapes, various widths, straight or curved edges (in            embodiment, for example, the central region 124a of outlet
plane or in section) to provide fluid flow features, open area,         openings 124 are scalloped to offer an enlarged outlet region
etc. as desired.                                                        from the centrally located channels, relative to those on the
   Fluid inlet opening 114 may open away from the ends of               edges. This shaping provides that the outlet openings from
the microchannels, for example along a length of a micro           45   some centrally positioned channels 103, relative to the sides
channel between its ends. In this way, fluid is introduced to a         of the heat exchanger, are larger than the outlet openings from
middle region of a continuous channel 103 rather than fluid             other channels closer to the edges. This provides that fluid
being introduced to one end of a channel and allowing it to             flowing through the more centrally located channels encoun
flow the entire length of the channel. In the illustrated               ters less resistance to flow therethrough, again facilitating
embodiment, heat exchanger 100 is intended to be mounted           50   flow past the central mounting region 102b on heat spreader
with heat source 107 generally centrally positioned relative to         plate 102.
the perimeter edges of heat spreader plate 102. As such, in the            A seal 130 separates fluid inlet passage 104 from fluid
illustrated embodiment, opening 114 is positioned generally             outlet passage 106 So that fluid must pass through the
centrally relative to the edges of the heat plate 102. Since the        microporous channels 103 past heat spreader plate surface
channels, in the illustrated embodiment extend substantially       55   102a.
continuously along the length of the heat plate between                   With reference to FIGS. 4 and 5, a useful method for
opposing side perimeter edges thereof, opening 114 opens                manufacturing a fluid heat exchanger is described. A heat
generally centrally between ends 103a of each channel. For              spreader plate 202 may be provided which has heat conduc
example, opening 114 may be positioned in the middle 50%                tive properties through its thickness at least about a central
of the heat exchanger or possibly the middle 20% of the heat       60   region thereof.
exchanger. The delivery of fresh fluid to the central region               Microchannels may be formed on the surface of the heat
where the heat generating component is in direct communi                spreader plate, as by adding walls or forming walls by build
cation with the heat spreader plate, first before passing               ing up or removing materials from the Surface of the heat
through the remaining lengths of channels seeks to create a             plate. In one embodiment, skiving is used to form walls 210.
uniform temperature at region 102b as well as areas in the         65      A plate 240 may be installed over the walls 210 to close off
heat spreader plate adjacent to the intended mounting posi              the channels across the upper limits of walls 210. Plate 240
tion. The introduction of fluid to a region along a middle              has portions removed to create inlet and outlet openings 214
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and 224, respectively, in the final heat exchanger. Tabs 242                 site fluid outlet opening from each microchannel in the
may be used to assist with the positioning and installation of               plurality of microchannels at each of the microchannel
plate 240, wherein tabs 242 are bent down over the two                       opposite ends;
outermost walls.                                                          a housing spaced from the plate positioned over the plural
   Seal 230 may be installed as a portion of plate 240 or                    ity of distal fin ends, wherein the housing defines an inlet
separately.                                                                  and an outlet, wherein the inlet defined by the housing
   After plate 240 and seal 230 are positioned, a top cap 244                opens to an inlet header and at least the first fluid outlet
can be installed over the assembly. Top cap 244 can include                  opening from each microchannel in the plurality of
side walls that extend down to a position adjacent heat                      microchannels opens to an outlet header, wherein the
spreader plate. The parts may be connected during assembly         10        outlet defined by the housing opens from the outlet
thereofor afterward by overall fusing techniques. In so doing,               header, and
the parts are connected so that short circuiting from inlet               a seal extending between the housing and the plate posi
passage to outlet passage is substantially avoided, setting up               tioned over the plurality of distal fin ends, wherein the
the fluid circuit as described herein above wherein the fluid                elongate fluid inlet opening defined by the plate extends
flows from opening 214 to openings 224 through the channels        15        between a proximal end and a distal end, wherein a
defined between walls 210.                                                   region of the inlet header is positioned adjacent a first
   The previous description of the disclosed embodiments is                  side of the fins and a region of the outlet header is
provided to enable any person skilled in the art to make or use              positioned adjacent the second side of the fins, and
the present invention. Various modifications to those embodi                 wherein the fins, the plate, the housing, and the seal are
ments will be readily apparent to those skilled in the art, and              arranged such that the heat transfer fluid is directed from
the generic principles defined herein may be applied to other                the inlet opening to the inlet header, through the elongate
embodiments without departing from the spirit or scope of the                fluid inlet opening defined by the plate and into the
invention. Thus, the present invention is not intended to be                 microchannels, from the microchannels to the outlet
limited to the embodiments shown herein, but is to be                        header, and from the outlet header to the outlet defined
accorded the full scope consistent with the claims, wherein        25         by the housing.
reference to an element in the singular, such as by use of the             2. A fluid heat exchanger according to claim 1 wherein the
article “a” or “an is not intended to mean “one and only one'           elongate fluid inlet opening is positioned in the middle 50% of
unless specifically so stated, but rather “one or more'. All            a length measured between the microchannel first ends and
structural and functional equivalents to the elements of the            the microchannel opposite ends.
various embodiments described throughout the disclosure            30      3. A fluid heat exchanger according to claim 1 wherein the
that are know or later come to be known to those of ordinary            elongate fluid inlet opening is positioned in the middle 20% of
skill in the art are intended to be encompassed by the elements         a length measured between the microchannel first ends and
of the claims. Moreover, nothing disclosed herein is intended           the microchannel opposite ends.
to be dedicated to the public regardless of whether such                   4. A fluid heat exchanger according to claim 1 wherein the
disclosure is explicitly recited in the claims. No claim ele       35   heat spreader plate has an intended heat generating compo
ment is to be construed under the provisions of 35 USC 112,             nent contact region in a known location on the heat spreader
sixth paragraph, unless the element is expressly recited using          plate and wherein the fluid inlet opening is positioned adja
the phrase “means for or “step for.                                     cent a central region of the intended heat generating compo
  I claim:                                                              nent contact region.
  1. A fluid heat exchanger comprising:                            40      5. A fluid heat exchanger according to claim 1 wherein the
  a heat spreader plate defining an upper Surface;                      heat spreader plate includes perimeter edges and a length
  a plurality offins extending from respective proximal ends            measured therebetween from perimeter edge to perimeter
     positioned adjacent the upper Surface of the heat                  edge, and wherein the plurality of microchannels extends
     spreader plate to respective distal ends positioned dis            substantially the length of the heat spreader plate.
     tally from the upper surface of the heat transfer plate,      45      6. A fluid heat exchanger according to claim 1 wherein the
     wherein the plurality of fins defines a corresponding              elongate fluid inlet opening defined by the plate is positioned
     plurality of microchannels configured to direct a heat             opposite the heat spreader plate Such that fluid passing
     transfer fluid over the heat spreader plate, wherein each          through the fluid inlet opening defined by the plate into the
     microchannel in the plurality of microchannels has a               plurality of microchannels moves orthogonally relative to and
     first end and an opposite end, wherein each microchan         50   toward a plane defined by the upper surface of the heat
     nel in the plurality of microchannels extends Substan              spreader plate.
     tially parallel with each other microchannel in the plu               7. A fluid heat exchanger according to claim 1 wherein the
     rality of microchannels and has a continuous channel               first fluid outlet opening is positioned opposite the heat
     flow path between its respective first end and its respec          spreader plate such that fluid passing from the plurality of
     tive opposite end;                                            55   microchannels through the first fluid outlet opening moves
  a plate positioned over the distalends of the plurality offins        orthogonally relative to and away from a plane defined by the
     and the corresponding plurality of microchannels to                upper Surface of the heat spreader plate.
     close off the plurality of microchannels adjacent the                 8. A fluid heat exchanger according to claim 1 wherein the
     distal ends of the plurality of fins, wherein the plate            elongate fluid inlet opening opens into each of the plurality of
     positioned over the plurality of distal fin ends defines an   60   microchannels defined by the plurality offins extending from
     elongate fluid inlet opening overlying and extending               the heat spreader plate.
     transversely relative to the plurality of microchannels               9. A fluid heat exchanger according to claim 1 wherein the
     between the plurality of microchannel first ends and               plurality of microchannels includes a first microchannel and
     opposite ends, wherein the plate is so positioned over the         a second microchannel spaced from the first microchannel;
     plurality of fins as to define a first fluid outlet opening   65   wherein the first fluid outlet opening from the first microchan
     from each microchannel in the plurality of microchan               nel is larger than either of the first outlet opening and the
     nels at each of the microchannel first ends and an oppo            opposite outlet opening of the second microchannel Such that
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                                                       US 8,746,330 B2
                                                                                                        10
less flow resistance occurs through the first microchannel to                  extends between the first side and the second side at a
allow greater flow therethrough during steady-state operation                  position between the first ends and the second ends; and
of the fluid heat exchanger.                                                 a seal extending between the housing and the apertured
   10. A fluid heat exchanger according to claim 1 wherein the                  plate, wherein the inlet to the microchannels is separated
plate positioned over the distal ends of the plurality of fins                  from the outlet from the microchannels by the seal such
defines a scalloped edge overlying the plurality of microchan                   that a fluid flow from the inlet header region is directed
nels adjacent the microchannel first ends and thereby defines                   through the inlet to the microchannels and into one or
a relatively larger outlet opening from a relatively more cen                   more of the microchannels before the fluid passes from
trally located microchannel as compared to an outlet opening                    the microchannels into the outlet header region and
from relatively less centrally located microchannels.                10
                                                                                through the housing outlet.
   11. A fluid heat exchanger according to claim 10, wherein                 15. A fluid heat exchanger according to claim 14, wherein
the scalloped edge is configured to provide a relatively lower            the inlet header region juxtaposed with a first side of the
fluid resistance through a portion of the relatively more cen             plurality of juxtaposed fins constitutes a first portion of an
trally located microchannel as compared to a fluid resistance             inlet header, wherein a second portion of the inlet header
through the relatively less centrally located microchannel.          15
   12. A fluid heat exchanger comprising:                                 extends transversely over the microchannels.
   a plurality of juxtaposed fins defining a corresponding                   16. A fluid heat exchanger according to claim 14, wherein
      plurality of juxtaposed microchannels, wherein each                 the apertured plate defines opposed first and second con
     microchannel extends between a first end and a second                toured edges positioned adjacent the first ends and the second
     end;                                                                 ends of the microchannels, respectively, wherein the first
  a plate positioned over the juxtaposed fins and the corre               contoured edge or the second contoured edge defines the
     sponding plurality of juxtaposed microchannels,                      relatively larger outlet opening from the relatively more cen
     wherein the plate defines an elongate aperture extending             trally positioned microchannel.
     transversely relative to each of the plurality of juxta                 17. A fluid heat exchanger according to claim 16, wherein
     posed microchannels, wherein the elongate aperture is           25   the first and second contoured edges comprise respective first
     positioned between the first ends and the second ends of             and second scalloped edges.
     the plurality of juxtaposed microchannels;                              18. A fluid heat exchanger according to claim 15, wherein
  a housing spaced apart from the plate, wherein the housing              the inlet header is configured to distribute a flow of the fluid
     has an inlet aperture and an outlet aperture, wherein the            among the plurality of microchannels.
     inlet aperture opens to an inlet header region positioned       30      19. A fluid heat exchanger according to claim 15, wherein
     adjacent a first side of the plurality of juxtaposed fins and        the inlet header is configured such that a flow of the fluid
     the outlet aperture opens from an outlet header region               passes from the header through the inlet defined by the aper
     positioned adjacent a second side of the plurality of                tured plate.
     juxtaposed fins opposite the first side of the plurality of            20. A fluid heat exchanger according to claim 15, wherein
      fins, and wherein the elongate aperture of the plate           35   the seal defines a boundary of the inlet header.
      extends away from the inlet header region transversely                 21. A fluid heat exchanger according to claim 1, wherein
      relative to the plurality of juxtaposed fins; and                   the inlet header is configured to distribute a flow of the heat
   a seal extending between the plate and the housing such                transfer fluid among the plurality of microchannels.
      that a flow of fluid from the inlet aperture of the housing            22. A fluid heat exchanger according to claim 12, wherein
      to the inlet header region must pass through the elongate      40   the inlet header region defines a region of an inlet header, and
      aperture of the plate and into the plurality of juxtaposed          the inlet header partially extends over the elongate inlet aper
      microchannels before the flow of the fluid passes                   ture defined by the plate, wherein the inlet header is config
     through the outlet header region and the outlet aperture             ured to distribute the flow of fluid among the plurality of
      of the housing.                                                     microchannels.
   13. A fluid heat exchanger according to claim 12, wherein         45      23. A fluid heat exchanger according to claim 22, wherein
the plate comprises a scalloped edge to define a scalloped                the inlet header region at least partially extends over the
outlet from the plurality of juxtaposed microchannels.                    elongate inlet aperture.
   14. A fluid heat exchanger comprising:                                    24. A fluid heat exchanger according to claim 1, wherein at
   a plurality of juxtaposed fins defining a corresponding                least a portion of the inlet header region extends over the
      plurality of juxtaposed microchannels, wherein each            50   elongate fluid inlet opening.
      microchannel extends between a respective first end and                25. A fluid heat exchanger according to claim 15, wherein
      a respective second end;                                            at least a portion of the inlet header region extends over the
   an apertured plate overlying the microchannels and defin               elongate fluid inlet opening.
     ing an inlet to the microchannels and an outlet from the                26. A fluid heat exchanger according to claim 1, wherein
     microchannels;                                                  55   the inlet header region has a relatively larger cross-sectional
  a housing having an inlet and an outlet, wherein the inlet              area than the housing inlet.
     opens to an inlet header region juxtaposed with a first                 27. A fluid heat exchanger according to claim 12, wherein
     side of the plurality of juxtaposed fins, and wherein the            the inlet header region has a relatively larger cross-sectional
     outlet opens from an outlet header region juxtaposed                 area than the housing inlet.
     with a second side of the plurality of juxtaposed fins,         60      28. A fluid heat exchanger according to claim 14, wherein
     wherein the first side and the second side are positioned            the inlet header region has a relatively larger cross-sectional
     opposite relative to each other and wherein the inlet to             area than the housing inlet.
     the microchannels defined by the apertured plate
